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                                                     July 2, 2024

 Via ECF

 The Honorable Leonard P. Stark
 United States Court of Appeals for the Federal Circuit
 717 Madison Place, NW
 Washington, D.C. 20439

        Re:     Crystallex International Corp. v. Bolivarian Republic of Venezuela, 17-mc-
                00151-LPS (D. Del.)

 Dear Judge Stark:

         We write on behalf of Rusoro Mining Limited (“Rusoro”) in the above-captioned matter
 to respectfully request that Rusoro’s undersigned Delaware counsel, as well as James Berger of
 DLA Piper LLP, who has been admitted pro hac vice in Rusoro Mining Ltd. v. Bolivarian Republic
 of Venezuela, 21-mc-00481-LPS (D. Del.), be permitted to appear telephonically at the status
 conference on July 2, 2024 through the public dial-in that has been circulated by counsel for PDV
 Holding, Inc. and CITGO Petroleum Corporation (D.I. 1195), as counsel for Rusoro are unable to
 attend the status conference in person.

                                             Respectfully submitted,


                                             /s/ R. Craig Martin
                                             R. Craig Martin


 cc: All counsel of record
